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                                                   Main Document     Page 1 of 5

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
 N. Stephen Vokshori (SBN 245570)
 Luke Jackson (SBN 230084)
 Vokshori Law Group, APLC
 1010 Wilshire Blvd., Ste. 1404
 Los Angeles, CA 90017

 Telephone: (213) 986-4323
 Facsimile: (310) 881-6996
 Email: luke@voklaw.com



      Debtor appearing without attorney
      Attorney for Debtor

                                           UNITED STATES BANKRUPTCY COURT
                                                                     SAN FERNANDO
                                     CENTRAL DISTRICT OF CALIFORNIA -Name of DIVISIONVALLEY DIVISION

 In re:                                                                      CASE NUMBER: 1:18-bk-10668
 Angela Flores Toledo,                                                       CHAPTER 13

                                                                                            DEBTOR’S NOTICE OF
                                                                                   (1) 11 U.S.C. SECTION 341(a) MEETING
                                                                                   OF CREDITORS, AND (2) HEARING ON
                                                                                  CONFIRMATION OF CHAPTER 13 PLAN,
                                                                                     WITH COPY OF CHAPTER 13 PLAN
                                                                             11 U.S.C. SECTION 341(a) MEETING OF CREDITORS:
                                                                             DATE: 04/18/2018
                                                                             TIME: 9:30 am
                                                                             PLAN CONFIRMATION HEARING:
                                                                             DATE: 11/27/2018
                                                                             TIME: 9:30 am
                                                                             DEADLINE FOR OBJECTIONS TO PLAN*: 11/13/2018
                                                                                                               ___________
                                                                             (*Debtor(s) must give at least 21 days’ notice of response
                                                                             deadline and 35 days’ notice of confirmation hearing. This notice
                                                                             initially must be served at least 14 days before the date first set
                                                                             for the Section 341(a) meeting. FRBP 2002(a)(9)&(b)(3), 3015(f),
                                                              Debtor(s).     LBR 3015-1(b)(3), (d)(1) & (g)(1).)


NOTICE TO ALL CREDITORS AND OTHER INTERESTED PARTIES:
1. Debtor will seek approval of the attached Chapter 13 Plan (Plan) at the Plan confirmation hearing listed above.
2. Any proposed modification of secured claims in the Plan will be by separate motion using LBR Form F 4003-
   2.4.JR.LIEN.MOTION, F 4003-2.1.AVOID.LIEN.RP.MOTION or F 4003-2.2.AVOID.LIEN.PP.MOTION as applicable.
3. Debtor and Attorney for Debtor are required to appear at the 11 U.S.C. Section 341(a) meeting of creditors; and all
   other interested parties are invited, but not required, to attend.
4. You should read these papers carefully and discuss them with your attorney, if you have one. (If you do not have an
   attorney, you may wish to consult one.)


                 “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
     “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                          Page 1                                F 3015-1.02.NOTICE.341.CNFRM
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SECTION 341(A) MEETING LOCATION:
        915 Wilshire Boulevard, 10th Floor, Room 1, Los Angeles, CA
        411 West Fourth Street, 1st Floor, Room 1-154, Santa Ana, CA
                                    st
        21041 Burbank Boulevard, 1 Floor, Suite 100, Woodland Hills, CA
                           st
       1415 State Street, 1 Floor, Room 148, Santa Barbara, CA
                                 st
       3801 University Avenue, 1 Floor, Room 1, Riverside, CA

PLAN CONFIRMATION HEARING LOCATION:
      255 East Temple Street, Los Angeles, CA                            411 West Fourth Street, Santa Ana, CA
      21041 Burbank Boulevard, Woodland Hills, CA                        1415 State Street, Santa Barbara, CA
      3420 Twelfth Street, Riverside, CA
               302
    Courtroom: ________   Floor: ______


OBJECTIONS TO PLAN: If you object to the confirmation of the Plan, you must file your objection in writing with the
court and serve a copy of it on Debtor, Attorney for Debtor, and the Chapter 13 Trustee before the Plan objection deadline
stated above. Unless you timely file a written objection to the Plan and appear at the confirmation hearing, the court may
treat your failure to do so as a forfeiture or waiver of your right to object to the plan, and may approve the Plan.

APPEARANCES OF DEBTOR AND ATTORNEY FOR DEBTOR ARE REQUIRED AT BOTH THE SECTION
341(a) MEETING AND THE PLAN CONFIRMATION HEARING. If the Chapter 13 Trustee determines at the
Section 341(a) meeting that the case is ready for Plan confirmation, the Chapter 13 trustee may, but is not required to,
stipulate that Debtor and counsel are excused from appearance at the Plan confirmation hearing (if the assigned judge
permits the Chapter 13 Trustee to waive appearances). If the Chapter 13 Trustee determines at the Section 341(a)
meeting that the Plan is NOT ready for confirmation, the Chapter 13 Trustee may, but is not required to, continue the
Section 341(a) meeting and/or to request the court to continue the Plan confirmation hearing to a later date. Unexcused
failure by Debtor to appear at either the Section 341(a) meeting or the Plan confirmation hearing may result in
dismissal of the case. The dismissal order may include a prohibition on being a debtor in any bankruptcy case
for a period of 180 days pursuant to 11 U.S.C. § 109(g), or other remedies pursuant to applicable law.




      10/23/2018
Date: _____________                                                  /s/ N. Stephen Vokshori
                                                                     __________________________________________
                                                                     Signature of Debtor or Attorney for Debtor



                                                                     Vokshori Law Group, APLC
                                                                     __________________________________________
                                                                     Print name of law firm (if applicable)




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1010 Wilshire Blvd., Ste. 1404, LA, CA 90017


A true and correct copy of the foregoing document entitled: DEBTOR’S NOTICE OF (1) 11 U.S.C. SECTION 341(a)
MEETING OF CREDITORS, AND (2) HEARING ON CONFIRMATION OF CHAPTER 13 PLAN, WITH COPY OF
CHAPTER 13 PLAN will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/23/2018
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
[See attached Electronic Service List.]




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              10/23/2018
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
[See attached Creditor Mailing Matrix.]




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


10/23/2018       Connie Lee                                                                  /s/ Connie Lee
 Date                     Printed Name                                                        Signature

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                      ELECTRONIC SERVICE LIST



1:18-bk-10668-MT Notice will be electronically mailed to:

Rafael R Garcia-Salgado on behalf of Creditor Trinity Financial Services, LLC
rgarcia@bwslaw.com, bantle@bwslaw.com,rjr-nef@bwslaw.com,jgomez@bwslaw.com

Gina Hiatt on behalf of Creditor SELECT PORTFOLIO SERVICING, INC.
gina.hiatt@spservicing.com

Luke Jackson on behalf of Debtor Angela Flores Toledo
bankruptcy@voklaw.com, VokshoriSR75477@notify.bestcase.com;voklaw@ecf.courtdrive.com

Nancy L Lee on behalf of Interested Party Courtesy NEF
bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com

Kelsey X Luu on behalf of Creditor The Bank of New York Mellon Trust Company NA, successor to The
Bank of New York Trust Company, NA, as trustee, for Chase Mortgage Finance Trust Multi-Class
Mortgage Pass-Through Certificates, Series 2
ecfcacb@aldridgepite.com, kluu@ecf.inforuptcy.com

Richard J Reynolds on behalf of Creditor Trinity Financial Services, LLC
rreynolds@bwslaw.com, psoeffner@bwslaw.com,tmims@bwslaw.com,rjr-
nef@bwslaw.com;fcabezas@bwslaw.com

Elizabeth (SV) F Rojas (TR)
cacb_ecf_sv@ch13wla.com

United States Trustee (SV)
ustpregion16.wh.ecf@usdoj.gov

Nima S Vokshori on behalf of Debtor Angela Flores Toledo
stephen@voklaw.com,
voklaw@gmail.com;bankruptcy@voklaw.com;vokshorisr75477@notify.bestcase.com;voklaw@ecf.court
drive.com
Label Matrix for Case   1:18-bk-10668-MT
                 local noticing                      Doc
                                                     SELECT51    Filed
                                                            PORTFOLIO    10/23/18
                                                                      SERVICING, INC. Entered 10/23/18
                                                                                                   Trinity16:29:08      DescLLC
                                                                                                           Financial Services,
0973-1                                                 Main   Document
                                                     3815 South West Temple      Page 5 of 5       c/o Burke, Williams & Sorensen, LLP
Case 1:18-bk-10668-MT                                 Salt Lake City, UT 84115-4412                        1851 East First Street
Central District of California                                                                             Suite 1550
San Fernando Valley                                                                                        Santa Ana, CA 92705-4067
Tue Sep 25 13:43:47 PDT 2018
San Fernando Valley Division                          ERC/Enhanced Recovery Corp.                          JPMorgan Chase Bank, N.A.
21041 Burbank Blvd,                                   8014 Bayberry Road                                   P.O. Box 183166
Woodland Hills, CA 91367-6606                         Attn.: Bankruptcy                                    Columbus, OH 43218-3166
                                                      Jacksonville, FL 32256-7412


JPMorgan Chase Bank, National Association             Spruce Finance                                       Spruce/Indaspec Energy Services
Chase Records Center                                  50 Osgood Place #400                                 976 South First Street
Attn: Correspondence Mail                             Attn: Christina Moore                                San Jose, CA 95110-3127
Mail Code LA4-5555                                    San Francisco, CA 94133-4644
700 Kansas Lane
Monroe LA 71203-4774
The Bank of New York Mellon Trust Company NA          Trinity Financial Services, LLC                      Trinity Financial Services, LLC
Serviced by Select Portfolio Servicing,               2618 San Miguel Drive, Suite 303                     c/o Special Default Services, Inc.
3217 S. Decker Lake Dr.                               Newport Beach, CA 92660-5437                         17100 Gillette Ave.
Salt Lake City, UT 84119-3284                                                                              Irvine, CA 92614-5603


United States Trustee (SV)                            Angela Flores Toledo                                 Elizabeth (SV) F Rojas (TR)
915 Wilshire Blvd, Suite 1850                         13536 Beaver St.                                     Valley Executive Center
Los Angeles, CA 90017-3560                            Sylmar, CA 91342-3111                                15260 Ventura Blvd., Suite 710
                                                                                                           Sherman Oaks, CA 91403-5342


Luke Jackson                                          Nima S Vokshori
Vokshori Law Group                                    Vokshori Law Group
1010 Wilshire Blvd., Ste. 1404                        1010 Wilshire Blvd Ste 1404
Los Angeles, CA 90017-5668                            Los Angeles, CA 90017-5668




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       (u)JPMORGAN CHASE BANK, N.A.                         (u)The Bank of New York Mellon Trust Company




End of Label Matrix
Mailable recipients     16
Bypassed recipients      3
Total                   19
